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  8   YOLO TECHNOLOGIES, INC.
  9
 10
                               UNITED STATES DISTRICT COURT
 11
                             CENTRAL DISTRICT OF CALIFORNIA
 12
                                         WESTERN DIVISION
 13
        THE ESTATE OF CARSON BRIDE,                    No. 2:21-cv-06680-FWS-MBK
 14
        by and through his appointed                   [PROPOSED] STIPULATED
 15     administrator KRISTIN BRIDE,                   PROTECTIVE ORDER
 16     KRISTIN BRIDE, A.K., A.C., A.O.,
        and the TYLER CLEMENTI
 17     FOUNDATION, on behalf of
 18     themselves and all others similarly
        situated,
 19
                        Plaintiffs,
 20
                  v.
 21
        YOLO TECHNOLOGIES, INC., and
 22     DOES #1-20,
 23                     Defendants.
 24
 25   1.      GENERAL
 26           1.1      Purposes and Limitations. Discovery in this action is likely to involve
 27   production of confidential, proprietary, or private information for which special
 28   protection from public disclosure and from use for any purpose other than prosecuting




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  1   this litigation may be warranted. Accordingly, the parties hereby stipulate to and
  2   petition the Court to enter the following Stipulated Protective Order. The parties
  3   acknowledge that this Order does not confer blanket protections on all disclosures or
  4   responses to discovery and that the protection it affords from public disclosure and
  5   use extends only to the limited information or items that are entitled to confidential
  6   treatment under the applicable legal principles. The parties further acknowledge, as
  7   set forth in Section 12.3, below, that this Stipulated Protective Order does not entitle
  8   them to file confidential information under seal; Civil Local Rule 79-5 sets forth the
  9   procedures that must be followed and the standards that will be applied when a party
 10   seeks permission from the court to file material under seal.
 11           1.2   Good Cause Statement.
 12           This action is likely to involve financial information and personally identifiable
 13   data and information of minors for which special protection from public disclosure
 14   and from use for any purpose other than prosecution of this action is warranted. This
 15   action may also involve trade secret, user, and other valuable research, development,
 16   commercial, technical and/or proprietary information for which special protection
 17   from public disclosure and from use for any purpose other than prosecution of this
 18   action is warranted. Such confidential and/or proprietary materials and information
 19   consist of, among other things, confidential business or financial information, IP
 20   addresses associated with users of the YOLO app who were minors, and user ID and
 21   account ID information associated with users of the YOLO app who were minors
 22   (including information implicating privacy rights of third parties), information
 23   otherwise generally unavailable to the public, or which may be privileged or otherwise
 24   protected from disclosure under state or federal statutes, court rules, case decisions,
 25   or common law. Accordingly, to expedite the flow of information, to facilitate the
 26   prompt resolution of disputes over confidentiality of discovery materials, to
 27   adequately protect information the parties are entitled to keep confidential, to ensure
 28   that the parties are permitted reasonable necessary uses of such material in preparation



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  1   for and in the conduct of trial, to address their handling at the end of the litigation,
  2   and serve the ends of justice, a protective order for such information is justified in this
  3   matter. It is the intent of the parties that information will not be designated as
  4   confidential for tactical reasons and that nothing be so designated without a good faith
  5   belief that it has been maintained in a confidential, non-public manner, and there is
  6   good cause why it should not be part of the public record of this case.
  7   2.      DEFINITIONS
  8           2.1   Action: the above-captioned case, The Estate of Carson Bride et al. v.
  9   YOLO Technologies, Inc. (Case No. 2:21-cv-06680-FWS-MRW).
 10           2.2   Challenging Party: a Party or Non-Party that challenges the designation
 11   of information or items under this Order.
 12           2.3   “CONFIDENTIAL” Information or Items: information (regardless of
 13   how it is generated, stored or maintained) or tangible things that qualify for protection
 14   under Federal Rule of Civil Procedure 26(c), and as specified above in the Good
 15   Cause Statement.
 16           2.4   Counsel: Outside Counsel of Record and House Counsel (as well as their
 17   support staff).
 18           2.5   Designating Party: a Party or Non-Party that designates information or
 19   items that it produces in disclosures or in responses to discovery as
 20   “CONFIDENTIAL.”
 21           2.6   Disclosure or Discovery Material: all items or information, regardless
 22   of the medium or manner in which it is generated, stored, or maintained (including,
 23   among other things, testimony, transcripts, and tangible things), that are produced or
 24   generated in disclosures or responses to discovery in this matter.
 25           2.7   Expert: a person with specialized knowledge or experience in a matter
 26   pertinent to the litigation who has been retained by a Party or its counsel to serve as
 27   an expert witness or as a consultant in this Action.
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  1           2.8   House Counsel: attorneys who are employees of a party to this Action.
  2   House Counsel does not include Outside Counsel of Record or any other outside
  3   counsel.
  4           2.9   Non-Party: any natural person, partnership, corporation, association, or
  5   other legal entity not named as a Party to this action.
  6           2.10 Outside Counsel of Record: attorneys who are not employees of a party
  7   to this Action but are retained to represent or advise a party to this Action and have
  8   appeared in this Action on behalf of that party or are affiliated with a law firm that
  9   has appeared on behalf of that party, including support staff.
 10           2.11 Party: any party to this Action, including all of its officers, directors,
 11   employees, consultants, retained experts, and Outside Counsel of Record (and their
 12   support staffs).
 13           2.12 Producing Party: a Party or Non-Party that produces Disclosure or
 14   Discovery Material in this Action.
 15           2.13 Professional Vendors: persons or entities that provide litigation support
 16   services (e.g., photocopying, videotaping, translating, preparing exhibits or
 17   demonstrations, and organizing, storing, or retrieving data in any form or medium)
 18   and their employees and subcontractors.
 19           2.14 Protected Material:     any Disclosure or Discovery Material that is
 20   designated as “CONFIDENTIAL.”
 21           2.15 Receiving Party: a Party that receives Disclosure or Discovery Material
 22   from a Producing Party.
 23
 24   3.      SCOPE
 25           The protections conferred by this Stipulation and Order cover not only
 26   Protected Material (as defined above), but also (1) any information copied or extracted
 27   from Protected Material; (2) all copies, excerpts, summaries, or compilations of
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  1   Protected Material; and (3) any testimony, conversations, or presentations by Parties
  2   or their Counsel that might reveal Protected Material.
  3           Any use of Protected Material at trial shall be governed by the orders of the
  4   trial judge. This Order does not govern the use of Protected Material at trial.
  5
  6   4.      DURATION
  7           Even after final disposition of this litigation, the confidentiality obligations
  8   imposed by this Order shall remain in effect until a Designating Party agrees
  9   otherwise in writing or a court order otherwise directs. Final disposition shall be
 10   deemed to be the later of (1) dismissal of all claims and defenses in this Action, with
 11   or without prejudice; and (2) final judgment herein after the completion and
 12   exhaustion of all appeals, rehearings, remands, trials, or reviews of this Action,
 13   including the time limits for filing any motions or applications for extension of time
 14   pursuant to applicable law.
 15
 16   5.      DESIGNATING PROTECTED MATERIAL
 17           5.1   Exercise of Restraint and Care in Designating Material for Protection.
 18   Each Party or Non-Party that designates information or items for protection under this
 19   Order must take care to limit any such designation to specific material that qualifies
 20   under the appropriate standards. The Designating Party must designate for protection
 21   only those parts of material, documents, items, or oral or written communications that
 22   qualify so that other portions of the material, documents, items, or communications
 23   for which protection is not warranted are not swept unjustifiably within the ambit of
 24   this Order.
 25           Mass, indiscriminate, or routinized designations are prohibited. Designations
 26   that are shown to be clearly unjustified or that have been made for an improper
 27   purpose (e.g., to unnecessarily encumber the case development process or to impose
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  1   unnecessary expenses and burdens on other parties) may expose the Designating Party
  2   to sanctions.
  3           If it comes to a Designating Party’s attention that information or items that it
  4   designated for protection do not qualify for protection, that Designating Party must
  5   promptly notify all other Parties that it is withdrawing the inapplicable designation.
  6           5.2     Manner and Timing of Designations. Except as otherwise provided in
  7   this Order (see, e.g., second paragraph of section 5.2(a) below), or as otherwise
  8   stipulated or ordered, Disclosure or Discovery Material that qualifies for protection
  9   under this Order must be clearly so designated before the material is disclosed or
 10   produced.
 11           Designation in conformity with this Order requires:
 12                   (a) for information in documentary form (e.g., paper or electronic
 13   documents, but excluding transcripts of depositions or other pretrial or trial
 14   proceedings), that the Producing Party affix, at a minimum, the legend
 15   “CONFIDENTIAL” (hereinafter “CONFIDENTIAL legend”), to each page that
 16   contains protected material. If only a portion or portions of the material on a page
 17   qualifies for protection, the Producing Party also must clearly identify the protected
 18   portion(s) (e.g., by making appropriate markings in the margins).
 19           A Party or Non-Party that makes original documents available for inspection
 20   need not designate them for protection until after the inspecting Party has indicated
 21   which documents it would like copied and produced. During the inspection and
 22   before the designation, all of the material made available for inspection shall be
 23   deemed “CONFIDENTIAL.” After the inspecting Party has identified the documents
 24   it wants copied and produced, the Producing Party must determine which documents,
 25   or portions thereof, qualify for protection under this Order. Then, before producing
 26   the specified documents, the Producing Party must affix the “CONFIDENTIAL
 27   legend” to each page that contains Protected Material. If only a portion or portions
 28   of the material on a page qualifies for protection, the Producing Party also must clearly



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  1   identify the protected portion(s) (e.g., by making appropriate markings in the
  2   margins).
  3                 (b) for testimony given in depositions that the Designating Party identify
  4   the Disclosure or Discovery Material on the record, before the close of the deposition.
  5                 (c) for information produced in some form other than documentary and
  6   for any other tangible items, that the Producing Party affix in a prominent place on
  7   the exterior of the container or containers in which the information is stored the legend
  8   “CONFIDENTIAL.” If only a portion or portions of the information warrants
  9   protection, the Producing Party, to the extent practicable, shall identify the protected
 10   portion(s).
 11           5.3   Inadvertent Failures to Designate. If timely corrected, an inadvertent
 12   failure to designate qualified information or items does not, standing alone, waive the
 13   Designating Party’s right to secure protection under this Order for such material.
 14   Upon timely correction of a designation, the Receiving Party must make reasonable
 15   efforts to assure that the material is treated in accordance with the provisions of this
 16   Order.
 17           Any party who produces material/information to any other party during the
 18   course of discovery in the Action without designating such discovery material as
 19   Protected Material pursuant to paragraph 5, above, may subsequently elect to treat
 20   such discovery material as Protected Material. The Designating Party shall notify the
 21   Receiving Party or Parties, in writing, of the Designating Party’s election to so treat
 22   the material/information, whereupon the Receiving Party or Parties shall mark or
 23   stamp the newly designated Protected Material consistent with Paragraph 5, above,
 24   subject to the terms set forth in this Stipulation and Order. Material/information newly
 25   designated as Protected Material pursuant to this subparagraph shall thereafter be
 26   treated as if originally designated pursuant to this Stipulation and Order, and shall be
 27   subject to the full force and effect of this Order; provided, however, that the Receiving
 28   Party or Parties shall under no circumstances be liable or accountable for any



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  1   disclosure of the newly designated Protected Material to any person during the
  2   interval between the time the newly designated Protected Material is provided to the
  3   Receiving Party or Parties without being designated as Protected Material pursuant to
  4   paragraph 5, above, and the time when the Designating Party so designates the
  5   Protected Material pursuant to this paragraph.
  6
  7   6.      CHALLENGING CONFIDENTIALITY DESIGNATIONS
  8           6.1   Timing of Challenges.       Any Party or Non-Party may challenge a
  9   designation of confidentiality at any time that is consistent with the Court’s
 10   Scheduling Order. Unless a prompt challenge to a Designating Party’s confidentiality
 11   designation is necessary to avoid foreseeable, substantial unfairness, unnecessary
 12   economic burdens, or a significant disruption or delay of the litigation, a Party does
 13   not waive its right to challenge a confidentiality designation by electing not to mount
 14   a challenge promptly after the original designation is disclosed.
 15           6.2   Meet and Confer. The Challenging Party shall initiate the dispute
 16   resolution process under Local Rule 37-1, et seq, as modified by Judge Kaufman’s
 17   Procedures. See https://www.cacd.uscourts.gov/honorable-michael-b-kaufman. Any
 18   discovery motion must strictly comply with these procedures.
 19           6.3   Burden. The burden of persuasion in any such challenge proceeding
 20   shall be on the Designating Party. Frivolous challenges, and those made for an
 21   improper purpose (e.g., to harass or impose unnecessary expenses and burdens on
 22   other parties) may expose the Challenging Party to sanctions. Unless the Designating
 23   Party has waived or withdrawn the confidentiality designation, all parties shall
 24   continue to afford the material in question the level of protection to which it is entitled
 25   under the Producing Party’s designation until the Court rules on the challenge.
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  1   7.      ACCESS TO AND USE OF PROTECTED MATERIAL
  2           7.1   Basic Principles. A Receiving Party may use Protected Material that is
  3   disclosed or produced by another Party or by a Non-Party in connection with this
  4   Action only for prosecuting, defending, or attempting to settle this Action, including
  5   trial and appeal, if any, and shall not be used in any other civil action or for any other
  6   purpose whatsoever, including, but not limited to, any business purpose, except as
  7   may be ordered by this Court or where there is an express written agreement between
  8   the parties to the contrary. The parties agree that with respect to the IP addresses that
  9   YOLO Technologies Inc. (“YOLO”) informally produced to Plaintiffs’ counsel on
 10   November 11, 2024, the current Plaintiffs in this Action are allowed to use said IP
 11   addresses only for purposes of this Action, for subpoenaing appropriate internet
 12   carriers or any third parties who would hold the information that potentially connects
 13   the IP addresses to individuals to whom the IP addresses belong, and for litigation
 14   against the individuals to whom the IP addresses belong and Plaintiffs agree to
 15   designate and treat the IP address information as Protected Material. The parties agree
 16   that the fact that any IP addresses can or cannot be connected or tracked to any
 17   identified individuals is not confidential information, but the actual IP addresses (i.e.
 18   the numbers) must be treated as confidential and thus the IP address numbers must be
 19   redacted or filed under seal if Plaintiffs were to make a case filing that included the
 20   IP address numbers. By entering into this Protective Order, YOLO is not supporting,
 21   encouraging or endorsing any actions on the part of Plaintiffs and Plaintiffs may take
 22   appropriate subpoena actions as they deem appropriate. Such Protected Material may
 23   be disclosed only to the categories of persons and under the conditions described in
 24   this Order. When the Action has been terminated, a Receiving Party must comply
 25   with the provisions of section 13 below (FINAL DISPOSITION).
 26           Protected Material must be stored and maintained by a Receiving Party at a
 27   location and in a secure manner that ensures that access is limited to the persons
 28   authorized under this Order.



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 1           7.2   Disclosure of “CONFIDENTIAL” Information or Items.                Unless
 2   otherwise ordered by the Court or permitted in writing by the Designating Party, a
 3   Receiving     Party   may     disclose   any      information    or   item   designated
 4   “CONFIDENTIAL” only to:
 5                 (a) the Receiving Party’s Outside Counsel of Record in this Action, as
 6   well as employees of said Outside Counsel of Record to whom it is reasonably
 7   necessary to disclose the information for this Action;
 8                 (b) the officers, directors, and employees (including House Counsel) of
 9   the Receiving Party to whom disclosure is reasonably necessary for this Action;
10                 (c) Experts (as defined in this Order) and their employees retained for
11   purposes of this Action, of the Receiving Party to whom disclosure is reasonably
12   necessary for this Action and who have signed the “Acknowledgment and Agreement
13   to Be Bound” (Exhibit A);
14                 (d) the Court and its personnel;
15                 (e) court reporters and their staff at depositions, hearings, or other
16   proceedings in this Action. Counsel for any party hereto may temporarily designate
17   the entire deposition transcript, or any portion thereof, as “CONFIDENTIAL”
18   Information, prior to or during the deposition;
19                 (f) professional jury or trial consultants, mock jurors, and Professional
20   Vendors, and their employees retained for purposes of this Action, to whom
21   disclosure is reasonably necessary for this Action and who have signed the
22   “Acknowledgment and Agreement to Be Bound” (Exhibit A);
23                 (g) the author or recipient of a document containing the information or
24   a custodian or other person who otherwise possessed or knew the information;
25                 (h) during their depositions, witnesses, and attorneys for witnesses, in
26   the Action to whom disclosure is reasonably necessary provided: (1) the deposing
27   party requests that the witness sign the form attached as Exhibit A hereto; and (2) they
28   will not be permitted to keep any confidential information unless they sign the



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 1   “Acknowledgment and Agreement to Be Bound” (Exhibit A), unless otherwise
 2   agreed by the Designating Party or ordered by the Court. However, if a witness
 3   refuses to execute a copy of Exhibit A, “CONFIDENTIAL” Information may not be
 4   disclosed to such witness unless otherwise ordered by the Court. Pages of transcribed
 5   deposition testimony or exhibits to depositions that reveal Protected Material may be
 6   separately bound by the court reporter and may not be disclosed to anyone except as
 7   permitted under this Stipulated Protective Order; and
 8                 (i)   any mediator, arbitrator, and/or settlement officer, and their
 9   supporting personnel, mutually agreed upon by any of the parties engaged in
10   settlement discussions.
11
12   8.      PROTECTED          MATERIAL          SUBPOENAED            OR      ORDERED
13           PRODUCED IN OTHER LITIGATION
14           If a Party is served with a subpoena or a court order issued in other litigation
15   that compels disclosure of any information or items designated in this Action as
16   “CONFIDENTIAL,” that Party must:
17           (a) promptly notify in writing the Designating Party. Such notification shall
18   include a copy of the subpoena or court order;
19           (b) promptly notify in writing the party who caused the subpoena or order to
20   issue in the other litigation that some or all of the material covered by the subpoena
21   or order is subject to this Protective Order. Such notification shall include a copy of
22   this Stipulated Protective Order; and
23           (c) cooperate with respect to all reasonable procedures sought to be pursued
24   by the Designating Party whose Protected Material may be affected.
25           If the Designating Party timely seeks a protective order, the Party served with
26   the subpoena or court order shall not produce any information designated in this
27   Action as “CONFIDENTIAL” before a determination by the court from which the
28   subpoena or order issued, unless the Party has obtained the Designating Party’s



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 1   permission. The Designating Party shall bear the burden and expense of seeking
 2   protection in that court of its confidential material and nothing in these provisions
 3   should be construed as authorizing or encouraging a Receiving Party in this Action to
 4   disobey a lawful directive from another court.
 5
 6   9.      A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE
 7           PRODUCED IN THIS LITIGATION
 8           (a) The terms of this Order are applicable to information produced by a Non-
 9   Party in this Action and designated as “CONFIDENTIAL.”                 Such information
10   produced by Non-Parties in connection with this litigation is protected by the
11   remedies and relief provided by this Order. Nothing in these provisions should be
12   construed as prohibiting a Non-Party from seeking additional protections.
13           (b) In the event that a Party is required, by a valid discovery request, to produce
14   a Non-Party’s confidential information in its possession, and the Party is subject to an
15   agreement with the Non-Party not to produce the Non-Party’s confidential
16   information, then the Party shall:
17                 (1) promptly notify in writing the Requesting Party and the Non-Party
18   that some or all of the information requested is subject to a confidentiality agreement
19   with a Non-Party;
20                 (2) promptly provide the Non-Party with a copy of the Stipulated
21   Protective Order in this Action, the relevant discovery request(s), and a reasonably
22   specific description of the information requested; and
23                 (3) make the information requested available for inspection by the Non-
24   Party, if requested.
25           (c) If the Non-Party fails to seek a protective order from this Court within 14
26   days of receiving the notice and accompanying information, the Receiving Party may
27   produce the Non-Party’s confidential information responsive to the discovery request.
28   If the Non-Party timely seeks a protective order, the Receiving Party shall not produce



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 1   any information in its possession or control that is subject to the confidentiality
 2   agreement with the Non-Party before a determination by the Court. Absent a court
 3   order to the contrary, the Non-Party shall bear the burden and expense of seeking
 4   protection in this Court of its Protected Material.
 5
 6   10.     UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
 7           If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed
 8   Protected Material to any person or in any circumstance not authorized under this
 9   Stipulated Protective Order, the Receiving Party must immediately (a) notify in
10   writing the Designating Party of the unauthorized disclosures, (b) use his/her/its best
11   efforts to retrieve all unauthorized copies of the Protected Material and prevent further
12   or greater unauthorized disclosure, (c) inform the person or persons to whom
13   unauthorized disclosures were made of all the terms of this Order, and (d) request
14   such person or persons to execute the “Acknowledgment and Agreement to Be
15   Bound” that is attached hereto as Exhibit A.
16
17   11.     INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE
18           PROTECTED MATERIAL
19           When a Producing Party gives notice to Receiving Parties that certain
20   inadvertently produced material is subject to a claim of privilege or other protection,
21   the obligations of the Receiving Parties are those set forth in Federal Rule of Civil
22   Procedure 26(b)(5)(B). This provision is not intended to modify whatever procedure
23   may be established in an e-discovery order that provides for production without prior
24   privilege review. Pursuant to Federal Rule of Evidence 502(d) and (e), insofar as the
25   parties reach an agreement on the effect of disclosure of a communication or
26   information covered by the attorney-client privilege or work product protection, the
27   parties may incorporate their agreement in the stipulated protective order submitted
28   to the Court.



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 2   12.     MISCELLANEOUS
 3           12.1 Right to Further Relief. Nothing in this Order abridges the right of any
 4   person to seek its modification by the Court in the future. No part of the terms,
 5   conditions or limitations imposed by this Order may be modified or terminated except
 6   by order of the Court, or by written agreement signed by all Parties hereto and
 7   approved by the Court. This Order shall not be construed to preclude a Party from
 8   applying for or obtaining further protection on this or other issues.
 9           12.2 Right to Assert Other Objections. By stipulating to the entry of this
10   Protective Order, no Party waives any right it otherwise would have to object to
11   disclosing or producing any information or item on any ground not addressed in this
12   Stipulated Protective Order. Similarly, no Party waives any right to object on any
13   ground to use in evidence of any of the material covered by this Protective Order. The
14   execution of this Order shall not operate as an admission against or otherwise
15   prejudice any contention of any Party on any motion provided for herein, or in any
16   other proceeding in this Action, nor shall this Order be taken to constitute a waiver of
17   any Party’s right to seek relief from the Court from any or all provisions of this Order.
18           12.3 Filing Protected Material.         Without written permission from the
19   Designating Party or a court order secured after appropriate notice to all required
20   persons, a Party may not file in the public record in this Action any Protected Material.
21   A Party that seeks to file under seal any Protected Material must comply with Civil
22   Local Rule 79-5. Protected Material may only be filed under seal pursuant to a court
23   order authorizing the sealing of the specific Protected Material at issue; good cause
24   must be shown in the request to file under seal. If a Party’s request to file Protected
25   Material under seal is denied by the Court, then the Receiving Party may file the
26   information in the public record unless otherwise instructed by the Court.
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 1   13.     FINAL DISPOSITION
 2           Within 60 days after the final disposition of this Action, as defined in paragraph
 3   4, each Receiving Party must return all Protected Material to the Producing Party or
 4   destroy such material. As used in this subdivision, “all Protected Material” includes
 5   all copies, abstracts, compilations, summaries, and any other format reproducing or
 6   capturing any of the Protected Material. Whether the Protected Material is returned
 7   or destroyed, the Receiving Party must submit a written certification to the Producing
 8   Party (and, if not the same person or entity, to the Designating Party) by the 60 day
 9   deadline that (1) identifies (by category, where appropriate) all the Protected Material
10   that was returned or destroyed, and (2) affirms that the Receiving Party has not
11   retained any copies, abstracts, compilations, summaries or any other format
12   reproducing or capturing any of the Protected Material.            Notwithstanding this
13   provision, counsel are entitled to retain an archival copy of all pleadings, motion
14   papers, trial, deposition, and hearing transcripts, legal memoranda, correspondence,
15   deposition and trial exhibits, expert reports, attorney work product, and consultant
16   and expert work product, even if such materials contain Protected Material. Any such
17   archival copies that contain or constitute Protected Material remain subject to this
18   Protective Order as set forth in Section 4 (DURATION).
19
20   14.     VIOLATION OF ORDER
21           Any violation of this Order may be punished by any and all appropriate
22   measures including, without limitation, contempt proceedings and/or monetary
23   sanctions.
24
25
26
27
28



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 1   IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.

 2
 3
     DATED: _April 29, 2025_________________
 4
 5   EISENBERG & BAUM, LLP

 6   _/s/ Juyoun Han_________________________
 7
     Juyoun Han
 8   Attorneys for Plaintiffs
 9
10
11   DATED:_ April 29, 2025_________________

12   DENTONS US LLP
13
     _/s/ Nick S. Pujji_________________________
14
15   Nick S. Pujji
     Attorneys for Defendant
16
17
18
19
     IT IS SO ORDERED.
20
21
     DATED:       $SULO      , 2025      ___________________________________
                                               ______________
                                                            ___________
                                                               _
22                                          MICHAEL
                                              CHAEL B. KAUFMAN
                                                        KAUUFMAN
                                                TED STATES MAGISTRAT
                                            UNITED          MAGISTRATE JUDGE
23
24
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28



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 1                                         EXHIBIT A
 2
                              Case No. 2:21-cv-06680-FWS-MBK
 3
                 ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
 4
             I, _____________________[full name], of [address],
 5
     ______________declare under penalty of perjury that I have read in its entirety and
 6
     understand the Stipulated Protective Order that was issued by the United States
 7
     District Court for the Central District of California on____________________
 8
     [date] in the case of _______________________________________________ [case
 9
     name and number]. I agree to comply with and to be bound by all the terms of this
10
     Stipulated Protective Order, and I understand and acknowledge that failure to so
11
     comply could expose me to sanctions and punishment in the nature of contempt. I
12
     solemnly promise that I will not disclose in any manner any information or item that
13
     is subject to this Stipulated Protective Order to any person or entity except in strict
14
     compliance with the provisions of this Stipulated Protective Order.
15
     I further agree to submit to the jurisdiction of the United States District Court for the
16
     Central District of California for the purpose of enforcing the terms of this
17
     Stipulated Protective Order, even if such enforcement proceedings occur after
18
     termination of this action. I hereby appoint_______________________ [full name]
19
     of ______________________________________[address and telephone number]
20
     as my California agent for service of process in connection with this action or any
21
     proceedings related to enforcement of this Stipulated Protective Order.
22
23
     Signature:                                  _______________________________
24
     Printed Name:                               _______________________________
25
     Date:                                       _______________________________
26
     City and State where sworn and signed: _______________________________
27
28



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